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                                                               UNITED STATES DISTRICT COURT
                                                                                               for the

                                                                                  Western District of Texas

                                Uniled SI::lIeS of America                                         )

                                             v.
                                          Michael Reyes
                                                                                                   )
                                                                                                   )
                                                                                                         Case No.   C f.' z~- M- ~11l/ -t1AtfJ
                                                                                                   )




                                                                            CRIMINAL               COMPLAINT

                     I. the complainant in this case. state that the following is true to the best of my knowledge and belief.
                                                                     Dec. 12-14,2020                     in the county of                E_I_P_a_so          in the
   011         or ahout the datc(s) of
                Western                    District of                    Texas               • the dcfcndant(s) violated:

                                                                                                            Offense Descripl ion
                         ( 'oJe Sect             iOIl

                                                                           Whoever transmits in interstate or foreign commerce any communication
       Title 18. U.S.C. Section 875 (c)-
                                                                           containing any threat to kidnap any person or any threat to injure the person
       Threatening Communications
                                                                           of another




                      This criminal complaint is based on these facts:
       See attached Probable Cause Statement hereby incorporated by reference as if fully restated herein:




                      i\( Continued on the attached sheet.



                                                                                                                             Complainant's     signatllre

                                                                OATH TELEPHONICAL1.V S,W91Y:l..                         Isaac Frost, FBI Special Agent
                                                                AT          A.M I P.M• .J&z::.B.
                                                                   Fed.R.Cr1m.P. 4.1(b)(2)(A)                                 Printed name alld litle



       Sworn to before me and signed.,                             , '5   ptUlllh




       Date:                      12/18/2020


                                                                 EIPaso, Texas                                  Miguel Torres, United States Magistrate Judge
       City and state:                                                                                                         Printed   1I(1I1l1!
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                               PROBABLE CAUSE STATEMENT

       1.         I, Isaac Frost, am a Special Agent of the Federal Bureau of Investigation (FBI),

United States Department of Justice and conduct investigations of violations of Federal Criminal

Law. I have been an FBI Special Agent since September 2017. I am assigned to the FBI's El Paso,

Texas Field Office, Violent Crimes Squad.       During this time, I have investigated violations of

numerous federal criminal statutes, including threats made via instruments of interstate and foreign

commerce.

       2.         The information   contained herein is based on my personal           knowledge    and

observations made during the course of this investigation, information conveyed by other law

enforcement personnel from, interviews and investigative activity, and the review of records and

documents obtained during this investigation.

       3.         On December       14, 2020 a complainant       contacted   the Federal   Bureau    of

Investigation to report Parler user, "Raizzor99" for posts advocating, "murder and terrorism". The

FBI conducted a review of the described account and determined the following posts had been

made over a two-day period starting on approximately            December     12, 2020 and ending on

December 14, 2020:

            (i)   While referencing the recent decision by the United States Supreme Court

       (SCOTUS) about the Texas lawsuit regarding the 2020 presidential elections; "Fuck all

       these traitors! Since we have no support from any level of government, then we must start

       killing these traitors in the streets. This is the last resort people. And if you

       @TheProudBoys are true Americans, then you will March on Washington DC, scotus'

       homes and execute those fucking traitors in their own yards!! Then wipe out all of

       congress and take the White House. If you are for the People, then you know this is the
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ONL Y course of action we have left. Fuck congress, Fuck dead America full of traitors,

Fuck SCOTUS'! Fuckkng [sic] kill that CUNT AMY CONEY [sic] BARRETT FIRST!!!

That cunt needs to see all her 38 children die in front of her treasonous eyes!! Fucking

whore!!"

    (ii) While referencing a news article regarding potential election fraud in Michigan;

"Since the courts, our government and congress are all against us and are betraying our

country by choosing sides with saran [sic], then We the People have the duty to execute

these traitors in their homes, streets wherever they happen to be. It is officially Oren[ sic]

season on All democrats, republicans, scotus, White House traitors ... .it's time to send a

clear message that traitors will die m, and so will their children and families. No more

talk, because everyone in our government has betrayed us. Kill them all, God will sort

them out proper."

    (iii) "Welcome to the Dead States of Satanica. Death and suffering is all you will find

in these dead lands. Trump lied about having evidence, he lied he was for the People. The

fucking whore @SidneyPowell also lied, as well as @linwood and Guilliani, snd [sic] the

cure [sic] chubby blonde. Sucks she too is a traitor, I liked her. Satan rules our entire

continent, all we do now is wait until the [sic] come to take us to prison camps cuz that's

where we are doing in the next few days to weeks. You stupid fucking cowards rolled

over for [sic] these satanic filth, so don't expect any of us to help you pussies. I know I'm

dying on my terms, and will kill as many of our enemies here in OUR country that I can

possibly kill. I'll wipe them out by the hundreds to thousands ifmy set up is right. Which

I feel is almost 100%. Just a couple more tweaks, and [sic] then it's time to feed so much
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traitor blood to this dead country. Good luck fellow Patriots, I hope we survive long

enough to fight alongside each other."

    (iv) "America died, it's already choked on its last drops of blood it gurgled out. Time

to kill all politicians, local and federal."

    (v) While referencing a post about Joe Biden running for President; "Like they say,

third time is the charm. Like I said, satans retards now rule our country. They won, we

will all be killed. We are now slaves in our own country because trump chose to give

them our country. In my eyes, Trump is no better than McCain. Traitors to the very black

core that pumps Black Death through their veins and hearts. Pieces of shit traitors. So

many traitors locally, statewide and throughout that we will torture and execute. Many

traitors, pedophile scum, Asian snd [sic] Muslim trash that are about to be cleansed from

this dead country and planet. They wanted a fight, so now, after we trap them, we will

torture and make the Muslim cunts bathe in and eat bacon, before we execute their

children first. Chinese snd [sic] Muslim trash are purely satanic, as those creatures were

created by Satan himself. If you know where any love [sic] bum them inside their homes,

fire should cleanse that evil, disgusting kind. Good luck, we are starting to hunt now

before it's to [sic] late."

    (vi) While referencing a post about Iran's kidnapping of FBI Agent Levison; "Good,

kill all those fucking traitors!! A dead agent is a damn good agent!!

#FBITraitorsMustDie."

    (vii)        "Honest question, and yes, I know I'm a disgusting human when I'm

fucking pissed, because fuck all traitors! I have very goddamn right to be fucking pissed

that our goddamn government betrayed us on all levels. If you people aren't fucking as
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livid as I am and others, then YOU are the problem we need to Fuckkng [sic] execute

first!! Anyway, if God is real, then did God lie to these so called "prophets" thst [sic]

claimed God spoke to them, showed them visions that Trump would win? Or do these

fucking wannabe prophets need to fuckkng [sic] die for lying to us? These so called

prophets and pastors all manipulated innocents for cash, and lied to them that god was

going to save our country and make it to where that buffoon Trump was re-elected. These

pastors need to be tortured and executed for betraying the people for stealing from them,

and for claiming that god was real and would help us."

    (viii)     "Trump has been out playing golf, while he lets the rest of us suffer.

Trump has sold out to China, and he needs to be executed on site!! Trump lied to us

about the election. Trumps Legal team tied [sic] to us about the election. Trump lied that

we would have a working government and county again, but he lied. Trump single

handedly signed our country over to Satan. If Satan is real, he now rules over the Dead

States of Satanica. Trump was probably praying to Satan in the oval Office, and that's

probably why the Chinese haven't killed him yet, but Chinese are direct descendants of

Satan himself, so you know China will still execute all US traitor politicians, so we the

people win either way. I don't care how many of those traitorous pieces of shit die, and I

hope China also rapes and executed their families, especially their children. You traitors

love to rape and murder innocent children, so the same will be done to you except you

will be eating your own. Bahahaha we win either way!


                          IDENTIFICATION         OF SUBJECT
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       4.      The FBI submitted an exigent request to Parler for subscriber information for

Parler account "Raizzor99". The following information was returned by Parler: email address:

raizzor99@gmail.com,   a telephone number with a 512 area code, the sign up IP address, and the

account's creation date: 07/24/2020.

       5.      A database search for the 512 phone number revealed a registrant of Michael

Reyes, home address: 9578 Sims Dr. APT D14, El Paso, TX 79925.

       6.      An open source query for the sign up IP Address resolved to El Paso, TX.

Additionally, the query revealed an internet service provider of Charter Communications. The

FBI submitted an exigent request to Charter Communications for subscriber information

pertaining to the sign up IP Address and received the following information: subscriber name:

Reyes, registered address: 9578 Sims Dr. APT 014, El Paso, TX 79925, and a representation

that the cable modem assigned to that IP Address was hard wired at the described location. The

described internet account for Reyes is currently active at 9578 Sims Dr. APT D14, El Paso, TX

79925. However the IP Address has since changed due to an equipment update.

       7.      The FBI submitted an exigent request to AT&T for the 512 phone number and

received the following information: subscriber name: Reyes with a registered address in the

79936 area code of El Paso, TX .. It should be noted that a database check regarding Reyes

showed the 79936 area code address as a previous listed address for Reyes.

       8.      On December 15, 2020, FBI Special Agents executed a search warrant at Reyes'

listed address. During the execution of the search warrant, two cellphones were seized and Reyes

voluntarily surrendered one rifle and one handgun. The rifle was found in a black bag with four

loaded rifle magazines. Additionally, a voluntary interview of Reyes was conducted in which

Reyes stated the Parler account "Raizzor99" was his account and that he had made the
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previously described posts. Reyes stated he had made the posts while angry but did not intend to

actually hurt anyone. Reyes stated he wanted to get a reaction from people.

       9.      Affiant executed a search warrant on Reyes' phone and discovered the following

WhatsApp message that was sent to an acquaintance of Reyes on December 15,2020, "I'm not

depressed or sad, just to let you know. My anger towards what's happening to our country is

what's making me step away. Not because I don't love or believe in God, but because of all the

sacrifices made, I want to go fight for my God, my Country, my Loved ones, because it is pure

agony at the thought that these monsters could possibly hurt someone I care about and that

makes me soooo angry Mr. Ramirez. And I know it's in Gods hands, all of our futures, and I

accept that 100%. But the human in me, wants to destroy our enemies that are murdering so

many innocent children and elderly. I know God will make everything right when the time is

right, so with that being said, I will most likely be at group this week. I had packed all my gear

and was going to set up with a team, my buddies, but God is telling us to wait. God calmed me

down so much today and is helping me see a little more clearly and passed my anger."

       10.     Affiant knows based on training and experience that Parler is a social media

platform that is accessible via electronic devices. Additionally, database searches conducted by

the FBI determined Parler's servers are located outside of the state of Texas. If a user were to

make a post on Parlor from Texas, the post would then travel interstate to Parler's servers before

being posted online.

       11.     Based on the facts set forth in this affidavit, there is probable cause to believe that

Michael Reyes has committed violations of Title 18, United States Code (U.S.C.), Section 875 (c)

Threatening Interstate Communications.
